 1                                                                             The Honorable Karen A. Overstreet
                                                                               Chapter: 11
 2                                                                             Hearing Date: December 6, 2013
                                                                               Hearing Time: 9:30 am
 3
                                                                               Response Date: November 29, 2013
 4

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 8                             UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
     In Re:                                                     )     No. 13-19746-KAO
10                                                              )
     CLI HOLDINGS, INC. dba ALYDIAN,                            )     AMENDED DECLARATION OF PETER
11                                                              )     VESSENES IN SUPPORT OF MOTION
                                                  Debtor.       )     TO REJECT EXECUTORY
12
                                                                )     CONTRACTS
13                                                              )

14            I, Peter J. Vessenes, make this amended declaration in support of the Debtor’s Motion to
15   Reject Executory Contracts.
16
              1.       I am the managing director of the debtor, CLI Holdings, Inc. dba Alydian
17
     (“Alydian”). I have personal knowledge of these facts stated herein.
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              2.       The prepay contract which was attached to my Declaration filed on November 15,
19

20   2013 as Exhibit E was the wrong form of agreement.

21            3.       The correct form of agreement between CLI Holdings, Inc. and Soule Investments

22   LLC is attached hereto as amended Exhibit “E”. It should replace the Exhibit “E” which was
23   attached to my Declaration filed on November 15, 2013.
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              4.       The prepay contract which was attached to my Declaration filed on November 15,
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     2013 as Exhibit K was incomplete.
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                                                                                            L AW O F F I C E S O F
     AMENDED DECLARATION OF PETER VESSENES IN SUPPORT OF
     MOTION TO REJECT EXECUTORY CONTRACTS (13-19746) Page - 1                      K E L L E R R O H R B AC K         L.L.P.
                                                                                     1201 TH IRD AVENUE, SUITE 3200
                                                                                    SEATTLE, W ASHING TON 98101-3052
     N:\CLIENTS \29744\1\PLEADINGS \EXECUTORYCONTRACTS \VESSENES.AMENDED.DOC           TELEPHONE: (206) 623-1900
                                                                                       FACSIMILE: (206) 623-3384
       Case 13-19746-KAO              Doc 22       Filed 11/21/13         Ent. 11/21/13 14:41:03                     Pg. 1 of 2
 1            5.       The correct form of agreement between CLI Holdings, Inc. and Jon Chin is
 2   attached hereto as amended Exhibit “K”. It should replace the Exhibit “K” which was attached
 3
     to my Declaration filed on November 15, 2013.
 4
              I declare under penalty of perjury under the laws of the State of Washington that the
 5
     forgoing is true and correct.
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 7            Signed in Bainbridge Island, Washington on this 21st day of November 2013.

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                                                            /s/Peter J. Vessenes
 9                                                          Peter J. Vessenes
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                                                                                            L AW O F F I C E S O F
     AMENDED DECLARATION OF PETER VESSENES IN SUPPORT OF
     MOTION TO REJECT EXECUTORY CONTRACTS (13-19746) Page - 2                      K E L L E R R O H R B AC K         L.L.P.
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